Case 1:18-cv-05084-.]PO Document 15 Filed 08/10/18 Page 1 of 14

UNITED STATES DISRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

X
JOHNNY ARELLANO CERVERA, individually and on : lndex No.:
behalf of others similarly situated, ]S_CV_05084 (JPO)
Plaintiffs, : VERIFIED ANSWER
- against -
SCENIC ROUTE 66 CAFE INC. (D/B/A ROUTE 66
CAFE), KATARZYNA BANAS, and RICHARD
KATEHIS,
Defendants. :
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Defendants SCENIC ROUTE 66 CAFE INC. (D/B/AL ROUTE 66 CAFE) (hereatter
referred to as “Route 66”, KATARZYNA BANAS (hereafter referred to as “Banas”), and
RICHARD KATEHIS (hereaiter referred to as “Katehis”) (collectively referred to as
“Defendants”) by their attorney, the Law Offices of Michael P. Giampilis, P.C. as and for its
answer to the plaintiffs’ complaint states as follows:

NATURE OF THE ACTION

l. Defendants agree With the statements contained in paragraph “l ” of the complaint

2. Defendants agree With the statements contained in paragraph “2” of the complaint

3. Defendants deny the allegations contained in paragraph “3” of the complaint except that

Banas and Katehis are shareholders and solely operate Route 66.

4. Defendants agree With the statements contained in paragraph “4” of the complaint

5. Defendants agree With the statements contained in paragraph “5” of the complaint

6. Defendants deny the allegations contained in paragraph “6” of the complaint

7. Defendants deny the allegations contained in paragraph “7” of the complaint

8. Defendants deny the allegations contained in paragraph “8” of the complaint

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Case 1:18-cv-05084-.]PO Document 15 Filed 08/10/18 Page 2 of 14

Defendants deny the allegations contained in paragraph “9” of the complaint
Defendants deny the allegations contained in paragraph “10” of the complaint
Defendants deny the allegations contained in paragraph “l l” of the complaint
Defendants neither admit nor deny the truth or falsity of the allegations contained in
paragraph “12” of the complaint The Fair Labor Standards Act (“FLSA”) and the NeW
York Labor LaW (“NYLL”) speak for themselves
Defendants deny the allegations contained in paragraph “13” of the complaint
Defendants deny the allegations contained in paragraph “14” of the complaint
Defendants deny the allegations contained in paragraph “15” of the complaint
Defendants neither admit nor deny the truth or falsity of the allegations contained in
paragraph “16” of the complaint The FLSA, NYLL, and all other statutes referenced in
this paragraph speak for themselves
Defendants deny knowledge and information sufficient to form a belief as to the truth or
falsity of the allegations contained in paragraph “17” of the complaint
JURISDICTION AND VENUE
Defendants neither admit nor deny the truth or falsity of the allegations contained in
paragraph “18” of the complaint The Statutes cited by plaintiffs speak for themselves
Defendants neither admit nor deny the truth or falsity of the allegations contained in
paragraph “19” of the complaint The statutes cited by plaintiffs speak for themselves
PARTIES
Plaintiff
Defendants deny knowledge and information sufficient to form a belief as to the truth or
falsity of the allegations contained in paragraph “20” of the complaint

Defendants deny the allegations contained in paragraph “21” of the complaint
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Case 1:18-cv-O5084-.]PO Document 15 Filed 08/10/18 Page 3 of 14

. Defendants deny knowledge and information sufficient to form a belief as to the truth or
falsity of the allegations contained in paragraph “22” of the complaint
Defendants
. Defendants agree With the statements contained in paragraph “23” of the complaint
. Defendants agree With the statements contained in paragraph “24” of the complaint
. Defendants agree With the statements contained in paragraph “25” of the complaint
. Defendants agree With the statements contained in paragraph “26” of the complaint
FACTUAL ALLEGATIONS
. Defendants agree With the statements contained in paragraph “27” of the complaint
. Defendants agree With the statements contained in paragraph “28” of the complaint
. Defendants agree With the statements contained in paragraph “29” of the complaint
. Defendants agree With the statements contained in paragraph “30” of the complaint
. Defendants neither admit nor deny the truth or falsity of the allegations contained in
paragraph “3 l” of the complaint The statutes cited by plaintiffs speak for themselves
Defendants neither admit nor deny the truth or falsity of the allegations contained in
paragraph “32” of the complaint
Defendants deny the allegations contained in paragraph “33” of the complaint
Defendants neither admit nor deny the truth or falsity of the allegations contained in
paragraph “34” of the complaint The statutes cited by plaintiffs speak for themselves
Defendants agree With the statements contained in paragraph “35” of the complaint
Defendants neither admit nor deny the truth or falsity of the allegations contained in
paragraph “36” of the complaint
Individual Plaintiffs

Defendants deny the allegations contained in paragraph “3 7” of the complaint
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Case 1:18-cv-O5084-.]PO Document 15 Filed 08/10/18 Page 4 of 14

38. Defendants deny knowledge and information sufficient to form a belief as to the truth or

falsity of the allegations contained in paragraph “3 8” of the complaint
PlaintWJo/mny Arellano Cervera

39. Defendants deny the allegations contained in paragraph “3 9” of the complaint

40. Defendants deny the allegations contained in paragraph “40” of the complaint

41. Defendants deny the allegations contained in paragraph “41” of the complaint

42. Defendants deny the allegations contained in paragraph “42” of the complaint

43. Defendants deny the allegations contained in paragraph “43 of the complaint

44. Defendants deny the allegations contained in paragraph “44” of the complaint

45. Defendants deny the allegations contained in paragraph “45” of the complaint

46. Defendants deny the allegations contained in paragraph “46” of the complaint

47. Defendants deny the allegations contained in paragraph “47” of the complaint

48. Defendants deny the allegations contained in paragraph “48” of the complaint

49. Defendants deny the allegations contained in paragraph “49” of the complaint

50. Defendants deny the allegations contained in paragraph “50” of the complaint

51. Defendants deny the allegations contained in paragraph “51” of the complaint

52. Defendants neither admit nor deny the truth or falsity of the allegations contained in
paragraph “52” of the complaint Plaintiff was however paid by the hour.

53. Defendants neither admit nor deny the truth or falsity of the allegations contained in
paragraph “53” of the complaint Plaintiff was however paid by the hour.

54. Defendants deny the allegations contained in paragraph “54” of the complaint

55. Defendants deny the allegations contained in paragraph “55” of the complaint

56. Defendants deny the allegations contained in paragraph “56” of the complaint

5 7. Defendants deny the allegations contained in paragraph “57” of the complaint
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Case 1:18-cv-O5084-.]PO Document 15 Filed 08/10/18 Page 5 of 14

Defendants deny the allegations contained in paragraph “58” of the complaint
Defendants deny the allegations contained in paragraph “59” of the complaint
Defendants deny the allegations contained in paragraph “60” of the complaint
Defendants deny the allegations contained in paragraph “61” of the complaint
Defendants deny the allegations contained in paragraph “62” of the complaint
Defendants deny the allegations contained in paragraph “63” of the complaint
Defendants deny the allegations contained in paragraph “64” of the complaint
Defen dan ts ’ Gen emi Employm em‘ Practices
Defendants deny the allegations contained in paragraph “65” of the complaint
Defendants deny the allegations contained in paragraph “66” of the complaint
Defendants deny the allegations contained in paragraph “67” of the complaint
Defendants deny the allegations contained in paragraph “68” of the complaint
Defendants deny the allegations contained in paragraph “69” of the complaint
Defendants deny the allegations contained in paragraph “70” of the complaint
Defendants deny the allegations contained in paragraph “71” of the complaint
Defendants deny the allegations contained in paragraph “'72” of the complaint

Defendants deny the allegations contained in paragraph “73” of the complaint

Defendants neither admit nor deny the truth or falsity of the allegations contained in

paragraph “74” of the complaint The statutes cited by plaintiffs speak for themselves

Defendants deny the allegations contained in paragraph “75” of the complaint
Defendants deny the allegations contained in paragraph “76” of the complaint
Defendants deny the allegations contained in paragraph “77” of the complaint
Defendants deny the allegations contained in paragraph “78” of the complaint

Defendants deny the allegations contained in paragraph “79” of the complaint
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Case 1:18-cv-O5084-.]PO Document` 15 Filed 08/10/18 Page 6 of 14

Defendants deny the allegations contained in paragraph “80” of the complaint
Defendants deny the allegations contained in paragraph “Sl” of the complaint
Defendants deny the allegations contained in paragraph “82” of the complaint except that
plaintiff was paid in cash and by check during his employment at Route 66.
Defendants deny the allegations contained in paragraph “83” of the complaint
Defendants deny the allegations contained in paragraph “84” of the complaint
Defendants deny the allegations contained in paragraph “85” of the complaint
Defendants deny the allegations contained in paragraph “86” of the complaint
Defendants deny the allegations contained in paragraph “87” of the complaint

FLSA COLLECTIVE CLAIMS
Defendants deny knowledge and information sufficient to form a belief as to the truth or
falsity of the allegations contained in paragraph “88” of the complaint
Defendants deny the allegations contained in paragraph “89” of the complaint
Defendants deny the allegations contained in paragraph “90” of the complaint

FIRST CAUSE OF ACTION
VIOLATION OF THE MlNIMUM WAGE PROVISIONS OF THE FLSA

Defendants repeat and reallege its answers to the allegations contained in paragraphs “l”
through “90” of the complaint

Defendants neither admit nor deny the truth or falsity of the allegations contained in
paragraph “92” of the complaint The statutes cited by plaintiffs speak for themselves
Defendants neither admit nor deny the truth or falsity of the allegations contained in
paragraph “93” of the complaint The statutes cited by plaintiffs speak for themselves
Defendants neither admit nor deny the truth or falsity of the allegations contained in

paragraph “94” of the complaint The statutes cited by plaintiffs speak for themselves

Case 1:18-cv-O5084-.]PO Document 15 Filed 08/10/18 Page 7 of 14

95. Defendants deny the allegations contained in paragraph “95” of the complaint
96. Defendants deny the allegations contained in paragraph “96” of the complaint
97. Defendants deny the allegations contained in paragraph “97” of the complaint

SECON]) CAUSE OF ACTION
VIOLATI()N OF THE OVERTIME PROVISIONS OF THE FLSA

98. Defendants repeat and reallege its answers to the allegations contained in paragraphs “l ”
through “97” of the complaint

99. Defendants deny the allegations contained in paragraph “99” of the complaint

100. Defendants deny the allegations contained in paragraph “100” of the complaint
lOl. Defendants deny the allegations contained in paragraph “l 01” of the complaint
THIR]) CAUSE OF ACTION

 

VIOLATION OF THE NEW YORK MINIMUM WAGE ACT
102. Defendants repeat and reallege its answers to the allegations contained in
paragraphs “l” through “l()l” of'the complaint
103. Defendants neither admit nor deny the truth or falsity of the allegations contained

in paragraph “103” of the complaint The statutes cited by plaintiffs speak for themselves

 

104. Defendants deny the allegations contained in paragraph “104” of the complaint
105. Defendants deny the allegations contained in paragraph “105” of the complaint
106. Defendants deny the allegations contained in paragraph “106” of the complaint
FOURTH CAUSE OF ACTION
VIOLA'I`ION OF THE OVERTIME WAGE PROVISIONS OF THE
NEW YORK LABOR LAW
107. Defendants repeat and reallege its answers to the allegations contained in

paragraphs “l” through “106” of the complaint
108. Defendants deny the allegations contained in paragraph “108” of the complaint

109. Defendants deny the allegations contained in paragraph “109” of the complaint
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Case 1:18-cv-O5084-.]PO Document 15 Filed 08/10/18 Page 8 of 14

 

l 10. Defendants deny the allegations contained in paragraph “110” of the complaint
FIFTH CAUSE OF ACTION
VIOLATION OF THE SPREAD OF HOURS WAGE ORDER OF THE NEW YORK
COMMISSIONER OF LABOR
ll l. Defendants repeat and reallege its answers to the allegations contained in

paragraphs “l” through “l 10” of the complaint

 

112. Defendants deny the allegations contained in paragraph “l 12” of the complaint
113. Defendants deny the allegations contained in paragraph “113” of the complaint
114. Defendants deny the allegations contained in paragraph “114” of the complaint
SIXTH CAUSE OF ACTION
VIOLATION OF THE NOTICE AND RECORDKEEPING REQUIREMENTS OF THE
NEW YORK LABOR LAW
115. Defendants repeat and reallege its answers to the allegations contained in

paragraphs “l” through “1 14” of the complaint
ll6. Defendants deny the allegations contained in paragraph “116” of the complaint
l 17. Defendants deny the allegations contained in paragraph “117” of the complaint
SEVENTH CAUSE OF ACTION
VIOLATION OF THE WAGE STATEMENT PROVISIONS OF THE
NEW YORK LABOR LAW

llS. Defendants repeat and reallege its answers to the allegations contained in

paragraphs “1” through “11'7” of the complaint

119. Defendants deny the allegations contained in paragraph “119” of the complaint
l20. Defendants deny the allegations contained in paragraph “120” of the complaint
EIGHTH CAUSE OF ACTION

 

RECOVERY OF EQUIPMENT COSTS
121. Defendants repeat and reallege its answers to the allegations contained in

paragraphs “l” through “l20” of the complaint

Case 1:18-cv-O5084-.]PO Document 15 Filed 08/10/18 Page 9 of 14

 

122. Defendants deny the allegations contained in paragraph “122” of the complaint
123. Defendants deny the allegations contained in paragraph “123” of the complaint
AFFIRMATIVE DEFENSES

 

FIRST AFFIRMATIVE DEFENSE
The complaint fails to state a cause of action upon which relief can be granted
SECOND AFFIRMATIVE DEFENSE
Plaintiff was not employed by Defendants for the periods stated in the complaint As
such, no unpaid wages are due Plaintiff.
THIRD AFFIRMATIVE DEFENSE
To the extent that Plaintiff was actually employed by Defendants, Plaintiff’s wages were fully
paid for the entire period of their employment
FOURTH AFFIRMATIVE DEFENSE
Defendants are not liable to plaintiff, or in the alternative Plaintiff"s claims should be
reduced and the Defendants are entitled to a setoff for all wages paid to plaintiff during
the employment period actually worked by Plaintiff, if any.
FIFTH AFFIRMATIVE DEFENSE
Plaintiff’ s wages, including minimum wage, overtime pay and spread of hours pay claimed in the
complaint were fully paid in accordance with the F ederal Labor Standards Act and New York
State Labor Laws.
SIXTH AFFIRMATIVE DEFENSE
The causes of action asserted in the complaint are barred, in whole or in part, by the
doctrines of unclean hands and bad faith conduct

SEVENTH AFFIRMATIVE DEFENSE
9

Case 1:18-cv-O5084-.]PO Document 15 Filed 08/10/18 Page 10 of 14

Plaintiff` s claims may be barred by fraud and/or misrepresentation
Defendants’ actions were at all times proper and in good faith.
RESERVATION OF RIGHTS

Defendants hereby give notice to Plaintiffs as stated in their Answer that they lack
sufficient knowledge or information upon which to form a belief as to the truth of certain
allegations contained in the Plaintiffs’ complaint or specific knowledge of actions on the part of
Plaintiffs or other persons that contributed to or caused Plaintiffs’ alleged damages Until
Defendants avail themselves of their right of discovery, it cannot be determined whether or not
the above stated Affirmativc Defenses will be asserted at trial. Defendants assert these defenses
in their Answer in order to preserve their right to assert these affirmative defenses at trial and to
give Plaintiffs notice of their intention to assert these defenses and avoid waiver of any defenses

Defendants therefore hereby reserve the right to add additional affirmative defenses as
may become known during the course of discovery.

WHEREFORE, Defendants demand judgment dismissing Plaintiffs’ complaint in its
entirety, with an award of costs, disbursements and reasonable attorneys’ fees, together with such
other and further relief as to this Court seems just and proper.

Dated: August 9, 2018

Mineola, New York

LAW OFFICES OF
MICHAEL P. GlAl\/lPlLlS, P.C.

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By; Michaei i;, margin (MG3336)
Attomey for efend ts

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(516) 739-5838

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To:

Case 1:18-cv-O5084-.]PO Document 15 Filed 08/10/18 Page 11 of 14

(516) 739-8225 fair
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Case 1:18-cv-O5084-.]PO Document 15 Filed 08/10/18 Page 12 of 14

VERIFICATION

STATE OF NEW YORK }
COUNTY OF NEW YORK } Ss:.

KATARZYNA BANAS, being duly sworn deposes and says that:

Your deponent is an officer of SCENIC ROUTE 66 CAFE INC. (D/B/A ROUTE 66
CAFE), a domestic corporation and defendant in the within action. Your deponent has
read the foregoing Answer, knows the contents thereof and that the same is true based on
your deponent’s own knowledge and information This verification is made by me
because the above party is a corporation and 1 am an officer thereof The grounds of my
knowledge are my personal knowledge and a review of relevant books and records of the

corporation

Worn to before me, this
day ofAugust, 2018

     

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KATARZYNA BANAS

Case 1:18-cv-O5084-.]PO Document 15 Filed 08/10/18 Page 13 of 14

VERIFICATION

STATE OF NEW YORK }
COUNTY OF NEW YORK } ss:.

KATARZYNA BANAS, being duly sworn deposes and says that:

Your deponent is a named defendant in the within action. Your deponent has read the
foregoing Answer, knows the contents thereof and that the same is true based on your
deponent’s own knowledge and information The grounds of my knowledge are my
personal knowledge and a review of relevant books and records

KATARZYNA BANAS

 

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Case 1:18-cv-O5084-.]PO Document 15 Filed 08/10/18 Page 14 of 14

VERIFICATION

STATE OF NEW YORK }
COUNTY OF NEW YORK } ss:.

RICHARD KATEHIS, being duly sworn deposes and says that:
Your deponent is a named defendant in the within action. Your deponent has read the
foregoing Answer, knows the contents thereof and that the same is true based on your

deponent’s own knowledge and infonnation. The grounds of my knowledge are my
personal knowledge and a review of relevant books and records

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RiCnARD `[KATEHis

 

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